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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

  Blama J.K., Jr.,                                         Civ. No. 20-0852 (PJS/BRT)

                        Petitioner,

  v.                                                          ORDER

  DHS-ICE, Chief Counsel, Attorney
  General, and Sherburne County Sheriff,

                        Respondents.


Blama J.K., Jr., pro se Petitioner.

Gregory G. Brooker, Esq., Ana H. Voss, Esq., and Ann M. Bildtsen, Esq., United States
Attorney’s Office, counsel for Respondents.


         The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Becky R. Thorson. No objections have been filed to that

Report and Recommendation in the time period permitted.

         Based upon the Report and Recommendation of the Magistrate Judge, upon all of

the files, records and proceedings herein, the Court now makes and enters the following

Order.

         IT IS HEREBY ORDERED that Petitioner=s Petition for a Writ of Habeas Corpus

(Doc. No. 1) is DISMISSED without prejudice.

         LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: October 20, 2020
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                                         PATRICK J. SCHILTZ
                                         United States District Judge
